Case 2:03-cV-02771-.]DB-tmp Document 24 Filed 06/13/05 Page 1 of 2 Page|D 37

UNITED STA TES DISTRICT COURT F"'ED mg '~ . D.C.

WESTERN DISTRICT OF TENNESSEE 95 JUH 13 AHH= 32

 

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.IERLDEAN DANIEL, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
MEMPHIS CITY BOARD OF EDUCATION, CASE NO: 03-2771-]3
Defendanf-

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order entered on June 9,
2005, this cause is hereby dismissed.

 

OVED:
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UNI ED STATES DISTRICT COURT RUBERT R m TROUO
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Date Clerk of Court

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This notice confirms a copy of the document docketed as number 24 in
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